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                    EXHIBIT B
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                                     Washington, DC

                                                                                     Page 1
                    UNITED STATES DISTRICT COURT

                  FOR THE DISTRICT OF MASSACHUSETTS



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       IN RE PHARMACEUTICAL         )

       INDUSTRY AVERAGE WHOLESALE )

       PRICE LITIGATION,            ) MDL No. 1456

       __________________________ ) Civil Action No

       THIS DOCUMENT RELATES TO:    ) 01-12257-PBS

       __________________________ ) Judge Patti B.

       United States of America,    ) Saris

       ex rel. Ven-A-Care of the    ) Mag. Judge

       Florida Keys, Inc., v.       ) Marianne Bowler

       Abbott Laboratories Inc.     )

       Civil Action No.             )

       06-11337-PBS                 )

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                 Videotaped Deposition of CYNTHIA B.

        SENSIBAUGH, a witness herein, at the offices of

        Jones Day, 51 Louisiana Avenue, N.W., Washington,

        D.C.    commencing at 9:11 a.m. on Friday, March 7,




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                                            Page 74                                                    Page 76
 1           MR. GOBENA: Or, Tina, you will have it      1           BY MR. GOBENA:
 2   in front of you there.                              2       Q. Mr. Landsidle testified that Abbott's
 3           MS. TABACCHI: I have it.                    3    position was that it was opposed to a shift from
 4           MR. GOBENA: And we'll give it to the        4    an AWP-based system to an acquisition cost system.
 5   witness.                                            5    Are you saying that Mr. Landsidle was incorrect
 6           (Exhibit Sensibaugh 006 was marked          6    when he stated that in his testimony?
 7   for identification.)                                7           MS. TABACCHI: Object to the form.
 8           BY MR. GOBENA:                              8           THE WITNESS: Yes, I'm not aware of any
 9       Q. This is a document that we went over         9    public position Abbott took on that.
10   during your 30(b)(1) deposition, Ms. Sensibaugh. 10             BY MR. GOBENA:
11   It's a February 10 interoffice correspondence from 11       Q. But was Mr. Landsidle incorrect that
12   you to Don Buell, B-u-e-l-l, Michael Heggie, Chris 12    there was at least an internal position that
13   Lockett and Rich Masterson. And it's regarding     13    Abbott was opposed to a shift from an AWP-based
14   the President's budget proposal on Medicare        14    reimbursement system under Medicare Part B to an
15   reimbursement of outpatient drugs.                 15    acquisition cost-based system?
16           And you wrote, "As you know, the           16           MS. TABACCHI: Object to the form.
17   President included a provision in his fiscal year  17    Beyond the scope.
18   1998 budget proposal that would base the Medicare 18            THE WITNESS: I'm not prepared to
19   reimbursement for outpatient drugs on acquisition 19     testify on -- correct or incorrect on that.
20   cost rather than AWP," which is something you just 20           BY MR. GOBENA:
21   testified to having knowledge about.               21       Q. In the next sentence of your memo you
22           Abbott opposed the President's 1998        22    say, "An industry meeting to discuss strategy with
                                            Page 75                                                    Page 77
 1   budget proposal shifting Medicare drug              1    regard to this issue has been tentatively
 2   reimbursement from AWP to acquisition cost; isn't 2      scheduled for Thursday, February 20."
 3   that correct?                                       3          I believe you testified last time that
 4          MS. TABACCHI: Object to the form.            4    you can't recall whether that meeting actually
 5          THE WITNESS: Abbott didn't take a            5    happened. Is my recollection correct?
 6   position on the acquisition cost shift.             6          MS. TABACCHI: Object to the form.
 7          BY MR. GOBENA:                               7          THE WITNESS: That is correct that I do
 8      Q. I want to read some testimony to you          8    not know that that meeting actually occurred.
 9   from Mr. Landsidle -- from his deposition, and you 9           BY MR. GOBENA:
10   reviewed his transcript; isn't that correct?       10        Q. Well, this memo suggests that you were
11      A. That is correct.                             11    authorized to have meetings with other members of
12      Q. I asked him a question -- this is on         12    the pharmaceutical industry about this proposed
13   page 200 of the transcript, and I said -- I asked  13    change from an AWP-based system to an acquisition
14   him, "And at least as of June 1997, Abbott opposed 14    cost-based system in 1997; isn't that correct?
15   the President's budget proposal that would have    15          MS. TABACCHI: Object to the form.
16   switched the reimbursement of drugs from AWP to 16       Beyond the scope.
17   acquisition costs; isn't that correct?"            17          THE WITNESS: Well, when I look at this
18          Ms. Tabacchi objected to the form.          18    memo, it seems to be reporting that a meeting will
19          Mr. Landsidle testified, "Looking at        19    occur, but it doesn't say anything about
20   this memo, I would have to say that that was the   20    attendance or who -- whether someone will attend.
21   position."                                         21          BY MR. GOBENA:
22          MS. TABACCHI: Object.                       22        Q. You go on to say, "We would like to get

                                                                                 20 (Pages 74 to 77)
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 1   documents say, yes.                                 1            MS. TABACCHI: Object to the form.
 2          BY MR. GOBENA:                               2    Beyond the scope.
 3       Q. And Ms. Tobiason, in her memorandum,         3            THE WITNESS: Well, you lumped them all
 4   raised reservations about Medicare reimbursing for 4     together, but, you know, as we discussed, Abbott
 5   drugs at AWP minus 15 percent; isn't that correct? 5     had not taken a position on those particular
 6          MS. TABACCHI: Object to the form.            6    issues.
 7   Beyond the scope of the notice.                     7            MR. GOBENA: I will try and cut through
 8          THE WITNESS: I would say her memo does 8          some exhibits here to go faster. Let's have this
 9   go through issues that she raised -- a summary as   9    exhibit marked as Sensibaugh 30(b)(6) Exhibit 7.
10   well as issues that she raised with the rule, yes. 10            (Exhibit Sensibaugh 007 was marked
11          BY MR. GOBENA:                              11    for identification.)
12       Q. And Mr. Robertson, in his June 14, '91,     12            BY MR. GOBENA:
13   memo, which you have there as one of the exhibits, 13        Q. What I am going to do is I am not going
14   stated that, you know, shifting to an AWP minus    14    to focus on the whole document. I am just going
15   15 percent reimbursement structure in the rules    15    to focus on the second page, item Roman numeral V,
16   was not good for -- had significant implications   16    Medicare reform. And while you're looking at
17   for Abbott's business; isn't that correct?         17    that, I will just identify it for the record.
18          MS. TABACCHI: Object to the form.           18    This is a June 5, '97, memorandum from David
19   Beyond the scope of the notice.                    19    Landsidle to Jose DeLasa and several -- carbon
20          THE WITNESS: Yes, he does say that in       20    copies to several individuals. And this is a
21   his memo.                                          21    document I believe we reviewed at your 30(b)(1)
22          BY MR. GOBENA:                              22    deposition.
                                            Page 83                                                    Page 85
 1        Q. And Ms. Hanrahan, in discussing             1            We were discussing earlier whether or
 2   meetings with outside groups about proposed         2    not Abbott had sort of an external official
 3   changes to Medicare's drug -- the way that          3    position on the President's proposal to shift from
 4   Medicare reimburses for drugs in her June 1994      4    an average wholesale price position to an
 5   memo about the Booth proposed survey, says that 5        acquisition cost-based position. Do you recall
 6   Abbott -- or not Abbott -- at least she and         6    that?
 7   someone else, because she says "our" -- were        7       A. Yes, I do.
 8   concerned about Mr. Booth's proposed survey to      8       Q. And you said that it was your
 9   determine acquisition costs for certain drugs       9    understanding that Abbott did not have an external
10   reimbursed by Medicare Part B; isn't that correct? 10    view on the issue, and you were not prepared to
11           MS. TABACCHI: Object to the form.          11    testify as to whether the company had an internal
12   Beyond the scope of the notice.                    12    view on this shift in acquisition cost system;
13           THE WITNESS: Yes, she does say that in 13        isn't that correct?
14   her memo.                                          14       A. That is correct.
15           BY MR. GOBENA:                             15       Q. It -- there is an indication here in
16        Q. And is it fair to say, Ms. Sensibaugh,     16    this memo from Mr. Landsidle that he was meeting
17   that every time there was a proposed change to the 17    with members of Congress about the proposed change
18   way that Medicare reimbursed for drugs, whether 18       from an average wholesale price to an acquisition
19   it's the '91 proposed reg or this proposed survey  19    cost-based Medicare drug reimbursement system. Do
20   by Mr. Booth or the proposed shift to an           20    you see that there?
21   acquisition cost-based reimbursement system,       21       A. I do see that bullet there.
22   Abbott opposed those changes?                      22       Q. And you reviewed Mr. Landsidle's

                                                                                 22 (Pages 82 to 85)
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 1   memorandum itself which starts at ABT-DOJ 296491, 1     memorandum which supersedes the September 8, 2000,
 2   if you go to the -- if you review the memorandum,  2    program memorandum, and I will read parts of it
 3   it indicates that the pricing information in       3    into the record here. It says, "This is to notify
 4   attachment 1 is DOJ pricing information that       4    you that you should not use the DOJ data attached
 5   the -- CMS is asking the carriers to consider;     5    to program memorandum AB-00-86 in your next update
 6   isn't that correct?                                6    of Medicare payment allowances for drugs and
 7           MS. TABACCHI: Object to the form.          7    biologicals. Instead, until further notice, you
 8   Beyond the scope.                                  8    should delay the use of this new source of average
 9           THE WITNESS: Yes, that's what it's         9    wholesale price, and use the AWP data from your
10   asking in the memo.                               10    usual source."
11           BY MR. GOBENA:                            11           It goes to say, "While we continue to
12       Q. So basically this memo asking the          12    believe that the AWPs reported in the usual
13   carriers to consider these DOJ prices was asking  13    commercially available sources are inaccurate and
14   carriers to make reimbursement decisions that     14    inflated above the true wholesale prices charged
15   could affect Abbott drugs; isn't that correct?    15    in the marketplace, congressional action may
16           MS. TABACCHI: The same objections.        16    preclude the use of this alternative source. To
17           THE WITNESS: Yes, to the extent they      17    avoid the disruption that would result from a
18   would have impact on Medicare reimbursement for   18    decrease in payment allowances followed by an
19   these drugs, yes.                                 19    immediate increase due to final congressional
20           BY MR. GOBENA:                            20    action, we are deferring the use of DOJ AWP data
21       Q. In addition to reviewing the program       21    until further notice."
22   memorandum -- the September 8, 2000, program      22           Do you know whether or not Abbott had a
                                           Page 139                                                  Page 141
 1   memorandum, did you review any other documents in 1     position on whether the agency should or should
 2   connection with the activities reflected in that   2    not have been using the DOJ data that was provided
 3   2000 program memorandum?                           3    in the September 8, 2000, program memorandum?
 4          MS. TABACCHI: Object to the form.           4           MS. TABACCHI: Object to the form.
 5   Asked and answered.                                5    Beyond the scope.
 6          THE WITNESS: I just reviewed parts of       6           THE WITNESS: Yes, Abbott did not have
 7   Mrs. Haas' testimony. I think she talked about     7    a position on the program memorandum.
 8   this.                                              8           MR. GOBENA: I am going to have this
 9          BY MR. GOBENA:                              9    marked as Sensibaugh Exhibit 15.
10      Q. Do you know whether or not the              10           (Exhibit Sensibaugh 015 was marked
11   September 8, 2000, program memorandum was         11    for identification.)
12   withdrawn at any point by CMS?                    12           BY MR. GOBENA:
13          MS. TABACCHI: Object to the form.          13        Q. While you're reviewing the document, I
14   Beyond the scope.                                 14    will just identify it for the record. This is an
15          THE WITNESS: As I remember, it was         15    e-mail from Rosemary Haas to Dale Johnson dated
16   withdrawn in, I think, November of that year.     16    November 22, 2000.
17          MR. GOBENA: We will have this marked       17           Once you have had a chance to review
18   as Sensibaugh 30(b)(6) 14.                        18    it, Ms. Sensibaugh, let me know.
19          (Exhibit Sensibaugh 014 was marked         19        A. Okay. I've reviewed it.
20   for identification.)                              20        Q. Ms. Haas writes to Mr. Johnson, "Allow
21          BY MR. GOBENA:                             21    me to clarify in response to your question, Dale.
22      Q. And this is a November 17 program           22    The HCFA program memorandum is good news" -- and

                                                                             36 (Pages 138 to 141)
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